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            EXHIBIT H
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 Summary V i €NV for ROSS, A NTOl N E                                                                                            I �V I     VI   -




                                                                                                       RO SS, A N T O I N E
                                                                                              F a ci l i ty Cod e : O BCC H ousi n g Area: 3 N



                                                     I ns u r a n ce: Self P ay
                                                                           A pp o i n t m ent Faci l ity : Oti s Bantum Cor recti onal Center

 1 1/ 10 / 2 0 16                                                              A p p o i n t m ent Provi d e r : H a rjl n d e r Bh atti, M D


                                                         R e a s o n for A p poi n t m e nt
  P a s t M ed i c al H ist o ry
                                                         1. Asthma
  ASTH M A NOS
  Cannabis depen den ce, episodi c abuse
                                                         H i sto ry of Prese nt I lln e ss


  Closed
  H AN D I N J U RY N OS
                                                    ;.
  ABRASI ON N OS                                    '


                                                    j TEM PLATES:
                                                    if
  Closed fracture of scaph oid bone of wrist
           fract ur e of base of other metacarpal
  bone                                                       Ast h ma Return Visi t
  REFUSAL OF TREATM ENT
  CONTUSION N OS
                                                         Asthma:
  Col d , common                                            SJ bjective:  _ __________                 no com p l ai n t .
  Di agnosi s Defer red                                     Sever i ty Assessm ent
                                                             Cur rent Assessm ent: Intermittent
  A l l e rg ies                                             Previ ous Visi t Assessment : I ntermittent I
  l iver : anaphylaxis: A l l ergy
  cranberry saucec: anaphylaxis: Allergy
  Banana: anaphylaxi s: Allergy "                            I m pai rment
                                                               Sym ptom s: < = 2 days/week I
                                                               N l ghtti me Awaken I n gs: I no
                                                               l nterference with normal acti vity: None!
                                                               Sh ort act i n g beta agonist use ( not El B): < = 2 days/ week I
                                                               Peak Flow: !at patien t 's baseline

                                                            Risk
                                                              Exacerb ation s requiring oral syst emati c corti costeroi d s 0-
                                                         1/year I
                                                              Progressive l oss of l u ng fun ction !no
                                                              Treat m ent-rel ated adverse effects I none

                                                             Pat ient Education
                                                              I n i t i al N ursi n g Ast h m a Educati on Assessment com pleted: Yes!
                                                              Sm okin g: Yes !
                                                              Peak Flow/ M O l tech nique: Yes /
                                                              Com p l i ance with fol low up appoi ntmen ts: Yes!
                                                              M ed i cation Com p l i ance: Yes!

                                                             ASTH M A CONTROL
                                                              Con t rol Level : Well Controlled ------

                                                         VI SI T COM PLEX I TY SCALE:
                                                             N ON-I N TAKE ACU I TY
                                                                N on - I ntake Acuity Scale 2: Complicated si ck call (problem
                                                         requiring diagnosti c evaluation, do cumented history, physical exam,




           Pat i en t : R OSS, A N TOl N E                               P rogr ess N ote: H a rj i n der Bhatt i , M 0   11/ 1 0 / 20 16
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                                                                                                                                 DEF_0189
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 Summary Viet-� for ROSS, A NTOl N E                                                                                                 Page 2 of 3




                                                  specified follow up) OR One chroni c condition addressed w ith
                                                  components sp ecified in (3)

                                                 V ita l S i g n s
                                                                                              BP
                                                                                          1 1/ 10/ 2 0 16 1 1 : 5 1: 36
                                                   1 0 9/ 58                                                              H arj i nder Bhatti
                                                                                                    AM
                                                                                           Pu l se
                                                                                          1 1/ 10/ 20 16 1 1 : 5 1: 36
                                                   70                                                                     H arj i nder Bhatti
                                                                                                    AM
                                                                                             RR
                                                                                          1 1/ 10/ 2 0 16 1 1 : 51 : 36
                                                   14                                                                     H arj i nder Bhatti
                                                                                                    AM
                                                                                           Temp
                                                                                          1 1/ 10/ 2 0 16 1 1 : 51:36
                                                   99. 1                                                                  H arj i n der Bhatti
                                                                                                    AM
                                                                                        Pea k F low
                                                                                          1 1/ 10 / 20 16 1 1: 54 : 10
                                                   530                                                                    H arj i n der Bhatti
                                                                                                     AM
                                                                                            Sa02
                                                                                          1 1/ 10/ 20 16 1 1 : 51:36
                                                   98% on RA                                                              H arj i nder Bhatti
                                                                                                    AM

                                                  Examination
                                                  General Exami nat i on:
                                                     GEN ERAL APPEARA N CE: wel l -appeari n g.
                                                     H EENT: u n rem ar kable.
                                                     ORAL CAVI TY: m u cosa m oi st.
                                                     N ECK: supple, n or m al ROM , no lymphadenopathy.
                                                     H EART: n or m al .
                                                     L U N GS: regular breat h i ng rate and effort, clear to auscu ltat i on , n o
                                                  wheezes.
                                                     ABDOM EN : soft an d n ot tender.
                                                     M U SCU L OSKEL ETAL: normal range of motion al l j o i nts.
                                                     N EU ROLOGI C EXAM : alert an d oriented x 3, n on -focal exam .

                                                  Assessme nts
                                                  1 . ASTH M A N OS - 493.90 ( Primary) , wel l control l ed

                                                  T re a tm e nt
                                                  1 . ASTH M A N OS
                                                  Start Al buterol SU ifate H FA Aerosol Sol ution, 108 (90 Base)
                                                  M CG/ ACT, Total D ose: 2 puffs, I n hal at i on , Every 6 H ou rs, as n eed ed ,
                                                  90 days, Drug Source: Phar macy
                                                  N otes: U se Ai buterol M D ! as need ed .


                                                  F o l l ow U p
                                                  3 M onths - Ast h m a




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 '-U--· 11 �h...,..,;,. •
                              nvr.hhc                                                                                            .
                                                                                                                                     DEF_0190
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 Summary Vi eN for ROSS, A NTOl N E                                                                                         Page J OT J




                                               A p po i n tm ent P r ovi d e r : H a r j i n d e r B hatt i , M D




                                               E l ectr o n i ca l l y si gned by H a rj i n der Bhatti M D on 1 1/ 10/ 20 16
                                               at 0 4 :50 PM E ST
                                               Sign off status: Com p l eted




                                                                      Oti s B a n t u m Corr ectional Center
                                                                                160 0 H azen Street
                                                                           E a st E l m h u r st, NY 1 1370
                                                                                T e l : 347-774-70 0 0
                                                                                Fax: 34 7-774 -8 0 8 8




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                                                                                                                             DEF_0191
